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                                                        Order Filed on July 13, 2020
                                                        by Clerk,
                                                        U.S. Bankruptcy Court
                                                        District of New Jersey




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